    Case: 19-10614    Document: 00515231932         Page: 1     Date Filed: 12/11/2019

Case 3:19-cv-00771-N-BN Document 22 Filed 12/11/19            Page 1 of 3 PageID 162



                     United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                          TEL. 504-310-7700
CLERK                                                               600 S. MAESTRI PLACE,
                                                                            Suite 115
                                                                   NEW ORLEANS, LA 70130

                            December 11, 2019


Ms. Karen S. Mitchell
Northern District of Texas, Dallas
United States District Court
1100 Commerce Street
Earle Cabell Federal Building
Room 1452
Dallas, TX 75242

      No. 19-10614      Todd Tomasella v. Division of Child Support,
                        et al
                        USDC No. 3:19-CV-771


Dear Ms. Mitchell,
Enclosed is a copy of the judgment issued as the mandate.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk

                                  By: _________________________
                                  Casey A. Sullivan, Deputy Clerk
                                  504-310-7642
cc w/encl:
     Mr. Todd Michael Tomasella
     Case: 19-10614   Document: 00515231933     Page: 1     Date Filed: 12/11/2019

 Case 3:19-cv-00771-N-BN Document 22 Filed 12/11/19       Page 2 of 3 PageID 163



          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT

                             ___________________

                                No. 19-10614
                             ___________________
                                                     A True Copy
TODD MICHAEL TOMASELLA,                              Certified order issued Dec 11, 2019

            Plaintiff - Appellant
                                                     Clerk, U.S. Court of Appeals, Fifth Circuit
v.

DIVISION OF CHILD SUPPORT, 42 U.S.C. 654(3), in its Individual and
Official Capacity; KAUFMAN COUNTY CHILD SUPPORT, 45 C.F.R. 75.2
Contractor, in its Individual and Official Capacity; WARREN KENNETH
PAXTON, JR., 45 C.F.R. 75.2 Contractor, Director of the IV-D Franchise, in
his Individual and Official Capacity; KAUFMAN COUNTY, TEXAS, 45
C.F.R. 75.2 Contractor; 86TH DISTRICT COURT, 45 C.F.R. 75.2 Contractor,
in its Individual and Official Capacity; RUTH BLAKE, 45 C.F.R. 75.2
Contractor, in her Individual and Official Capacity; CASEY BLAIR, 45 C.F.R.
75.2 Contractor, in his Individual and Official Capacity; RHONDA HUGHEY,
45 C.F.R. 75.2 Contractor, in her Individual and Official Capacity; BRYAN
W. BEAVERS, 45 C.F.R. 75.2 Contractor, in his Individual and Official
Capacity,

            Defendants - Appellees

                           ________________________

             Appeal from the United States District Court for the
                         Northern District of Texas
                          ________________________

CLERK'S OFFICE:

       Under 5TH CIR. R. 42.3, the appeal is dismissed as of December 11, 2019,
for want of prosecution. The appellant failed to timely file record excerpts.
    Case: 19-10614   Document: 00515231933    Page: 2     Date Filed: 12/11/2019

Case 3:19-cv-00771-N-BN Document 22 Filed 12/11/19      Page 3 of 3 PageID 164



     The brief also remains insufficient as noted in this court's letter dated
September 17, 2019. If appellant moves to reopen the appeal, both record
excerpts and a sufficient brief must accompany any motion to reopen this
appeal.



                                    LYLE W. CAYCE
                                    Clerk of the United States Court
                                    of Appeals for the Fifth Circuit


                                    By: _________________________
                                    Casey A. Sullivan, Deputy Clerk

                       ENTERED AT THE DIRECTION OF THE COURT
